Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 1 of 35 Page ID #:14




                                                        EXHIBIT A

                                                  U.S. Patent No. 7,113,801




  Exhibits to Complaint for Patent Infringement                               Page No. 1
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 2 of 35 Page ID #:15




  Exhibits to Complaint for Patent Infringement                        Page No. 2
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 3 of 35 Page ID #:16




  Exhibits to Complaint for Patent Infringement                        Page No. 3
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 4 of 35 Page ID #:17




  Exhibits to Complaint for Patent Infringement                        Page No. 4
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 5 of 35 Page ID #:18




  Exhibits to Complaint for Patent Infringement                        Page No. 5
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 6 of 35 Page ID #:19




  Exhibits to Complaint for Patent Infringement                        Page No. 6
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 7 of 35 Page ID #:20




  Exhibits to Complaint for Patent Infringement                        Page No. 7
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 8 of 35 Page ID #:21




  Exhibits to Complaint for Patent Infringement                        Page No. 8
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 9 of 35 Page ID #:22




  Exhibits to Complaint for Patent Infringement                        Page No. 9
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 10 of 35 Page ID #:23




  Exhibits to Complaint for Patent Infringement                        Page No. 10
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 11 of 35 Page ID #:24




  Exhibits to Complaint for Patent Infringement                        Page No. 11
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 12 of 35 Page ID #:25




                                                            EXHIBIT B

                                                  Coolpad Statement of Information

                                                     Filed September 17, 2019




  Exhibits to Complaint for Patent Infringement                                      Page No. 12
         Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 13 of 35 Page ID #:26

                                                                                                           F
                               State of California
                                   Secretary of State
                               Statement of Information                                                                          G940135
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                                SEP-17 2019
     COOLPAD TECHNOLOGIES INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C3406610                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
530 TECHNOLOGY DRIVE SUITE 100, IRVINE, CA 92618
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE
530 TECHNOLOGY DRIVE SUITE 100, IRVINE, CA 92618
6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD           PO BOX 883, PROSPER, TX 75078
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 STEVEN CISTULLI            168 WHITECAP LANE, NEWPORT COAST, CA 92657
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD            2029 BARRET DRIVE, FRISCO, TX 75033
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD            2029 BARRET DRIVE, FRISCO, TX 75033
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 LILY CHEN
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE

LILY CHEN 5850 OBERLIN DR #240, SAN DIEGO, CA 92121

Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
WHOLESALE
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 09/17/2019            KEVIN LITTLEFIELD                                          CFO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE
             Exhibits to Complaint for Patent Infringement                                                                                Page No. 13
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 14 of 35 Page ID #:27




                                                     EXHIBIT C

                                   Maintenance Fees Paid for US Patent No. 7,113,801




  Exhibits to Complaint for Patent Infringement                                        Page No. 14
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 15 of 35 Page ID #:28




  Exhibits to Complaint for Patent Infringement                        Page No. 15
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 16 of 35 Page ID #:29




                                                         EXHIBIT D

                                           Chain of Title for US Patent No. 7,113,801




  Exhibits to Complaint for Patent Infringement                                         Page No. 16
 Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 17 of 35 Page ID #:30




Assignment abstract of title for Application 10221139

Invention title/Inventor                 Patent         Publication    Application        PCT International registration
METHOD FOR RECEIVING DATA                7113801        20030036396    10221139
USING SMS AND WIRELESS                   Sep 26, 2006   Feb 20, 2003   Sep 10, 2002
INTERNET AND SYSTEM THEREOF
Gap-Chun Back, Seung-Hyouk Yim,
Sung-Zoo Park


Assignments (8 of 8 total)

Assignment 8
Reel/frame                               Execution date         Date recorded             Properties       Pages
050139/0738                              Aug 22, 2019           Aug 22, 2019              1                2

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                      Correspondent
CELLULAR EVOLUTION, LLC                                                        FARSHAD FARJAMI
                                                                               26522 LA ALAMEDA AVE
                                                                               SUITE 360
                                                                               MISISON VIEJO, CA 92691
Assignee
HYPERTEXT TECHNOLOGIES, LLC
26522 LA ALAMEDA AVE
SUITE 360
MISSION VIEJO, CALIFORNIA 92691



Assignment 7
Reel/frame                               Execution date         Date recorded             Properties       Pages
049345/0935                              May 07, 2019           Jun 03, 2019              6                4

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                      Correspondent
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                                                                               SUITE 360
                                                                               MISISON VIEJO, CA 92691
Assignee
CELLULAR EVOLUTION, LLC
26522 LA ALAMEDA AVE
SUITE 360
MISSION VIEJO, CALIFORNIA 92691



Assignment 6
Reel/frame                               Execution date         Date recorded             Properties       Pages
029244/0839                              Oct 31, 2012           Nov 05, 2012              16               4

Conveyance
NOTICE OF COMPLETION

Assignors                                                                      Correspondent
       Exhibits to Complaint for Patent Infringement                                                       Page No. 17
 Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 18 of 35 Page ID #:31
PANTECH CO., LTD.                                                        H.C. PARK & ASSOCIATES, PLC
                                                                         1894 PRESTON WHITE DRIVE
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PRIVATE SPECIAL ASSET FUND 2)
120, TONGIL-RO, JUNG-GU
SEOUL
KOREA, REPUBLIC OF



Assignment 5
Reel/frame                               Execution date   Date recorded             Properties         Pages
029042/0549                              Sep 28, 2012     Sep 28, 2012              16                 6

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                Correspondent
PANTECH CO., LTD.                                                        H.C. PARK & ASSOCIATES, PLC
                                                                         8500 LEESBURG PIKE, SUITE 7500
                                                                         VIENNA, VA 22182
Assignee
NONGHYUP BANK (AS THE TRUSTEE OF
IDEABRIDGE OPPORTUNITY PRIVATE SPECIAL
ASSET FUND 1 AND IDEABRIDGE OPPORTUNITY
PRIVATE SPECIAL ASSET FUND 2)
120, TONGIL-RO, JUNG-GU
SEOUL
KOREA, REPUBLIC OF



Assignment 4
Reel/frame                               Execution date   Date recorded             Properties         Pages
028740/0459                              Dec 30, 2009     Aug 07, 2012              1                  14

Conveyance
MERGER (SEE DOCUMENT FOR DETAILS).

Assignors                                                                Correspondent
PANTECH & CURITEL COMMUNICATIONS, INC.                                   H.C. PARK & ASSOCIATES, PLC
                                                                         8500 LEESBURG PIKE
                                                                         SUITE 7500
                                                                         VIENNA, VA 22182
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PANTECH R&D CENTER, I-2, DMC, SANGAM-DONG,
MAPO-GU
SEOUL 121-270
KOREA, REPUBLIC OF



Assignment 3
Reel/frame                               Execution date   Date recorded             Properties         Pages
022973/0471                              Jun 01, 2009     Jul 20, 2009              23                 13

Conveyance
MERGER (SEE DOCUMENT FOR DETAILS).

Assignors                                                                Correspondent
KTFREETEL CO., LTD.                                                      JONGWON KIM
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                                                                         CHANTILLY, VA 20151
Assignee
       Exhibits to Complaint for Patent Infringement                                                   Page No. 18
 Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 19 of 35 Page ID #:32
KT CORPORATION
206, JUNGJA-DONG, BUNDANG-GU
KYEONGGI-DO
SEONGNAM-CITY 463-711
KOREA, REPUBLIC OF



Assignment 2
Reel/frame                               Execution date   Date recorded            Properties     Pages
021127/0134                              Jun 16, 2008     Jun 17, 2008             1              2

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                Correspondent
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                                                                         FINNEGAN, HENDERSON, FARABOW,
                                                                         ET AL.
                                                                         901 NEW YORK AVENUE, N.W.
                                                                         WASHINGTON, D.C.20001-4413
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SEOUL 171-270
KOREA, REPUBLIC OF

PANTECH& CURITEL COMMUNICATIONS INC.
(50%)
PANTECH R &D CENTER
1-2, DMC, SANGAM-SONG, MAPO GU
SEOUL 171-270
KOREA, REPUBLIC OF



Assignment 1
Reel/frame                               Execution date   Date recorded            Properties     Pages
013533/0225                              Sep 02, 2002     Sep 10, 2002             1              3

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                Correspondent
BACK, GAP-CHUN                                                           FINNEGAN, HENDERSON, FARABOW,
YIM, SEUNG-HYOUK                                                         ET AL
PARK, SUNG-ZOO                                                           MR. ERNEST F. CHAPMAN
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                                                                         WASHINGTON, D.C. 20005-3315
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       Exhibits to Complaint for Patent Infringement                                              Page No. 19
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 20 of 35 Page ID #:33




                                                         EXHIBIT E

                                            Claim Chart for US Patent No. 7,113,801

                                                           Coolpad




  Exhibits to Complaint for Patent Infringement                                       Page No. 20
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 21 of 35 Page ID #:34




  Exhibits to Complaint for Patent Infringement                        Page No. 21
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 22 of 35 Page ID #:35




  Exhibits to Complaint for Patent Infringement                        Page No. 22
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 23 of 35 Page ID #:36




  Exhibits to Complaint for Patent Infringement                        Page No. 23
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 24 of 35 Page ID #:37




  Exhibits to Complaint for Patent Infringement                        Page No. 24
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 25 of 35 Page ID #:38




  Exhibits to Complaint for Patent Infringement                        Page No. 25
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 26 of 35 Page ID #:39




  Exhibits to Complaint for Patent Infringement                        Page No. 26
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 27 of 35 Page ID #:40




  Exhibits to Complaint for Patent Infringement                        Page No. 27
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 28 of 35 Page ID #:41




  Exhibits to Complaint for Patent Infringement                        Page No. 28
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 29 of 35 Page ID #:42




  Exhibits to Complaint for Patent Infringement                        Page No. 29
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 30 of 35 Page ID #:43




  Exhibits to Complaint for Patent Infringement                        Page No. 30
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 31 of 35 Page ID #:44




  Exhibits to Complaint for Patent Infringement                        Page No. 31
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 32 of 35 Page ID #:45




  Exhibits to Complaint for Patent Infringement                        Page No. 32
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 33 of 35 Page ID #:46




  Exhibits to Complaint for Patent Infringement                        Page No. 33
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 34 of 35 Page ID #:47




  Exhibits to Complaint for Patent Infringement                        Page No. 34
Case 8:19-cv-02365-DOC-JDE Document 1-1 Filed 12/09/19 Page 35 of 35 Page ID #:48




  Exhibits to Complaint for Patent Infringement                        Page No. 35
